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                                UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

        CHAMBERS OF                                                               U.S. COURTHOUSE
    CATHERINE C. BLAKE                                                       101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                BALTIMORE, MARYLAND 21201
                                                                                     (410) 962-3220
                                                                                   Fax (410) 962-6836
                                         July 20, 2022

   MEMORANDUM TO COUNSEL

   Re:    United States of America v. Booz Allen Hamilton Inc. et al.
          Civil No. CCB-22-1603

   Dear Counsel:

           I am reviewing your competing schedules. I appreciate that in some instances you have
   reached agreement, but significant disputes remain. Based on your briefing and my review of the
   record, I have determined that at present the schedule should be directed toward a preliminary
   injunction hearing, not a full trial on the merits, to be held on September 15 and 16, if two days
   are needed. As the factual evidence and legal issues are developed, however, it may be that a final
   order on the dispositive issues can be entered without a full trial.

          Fact discovery should begin now. A protective order (ECF 71) was entered on July 18,
   2022, so the production of investigation materials should be no later than two business days from
   today. Answers to the complaint are due July 22; plaintiff’s initial disclosures and preliminary
   witness list are due July 27; defendants’ initial disclosures and preliminary witness list are due
   August 1, 2022. The close of fact discovery will be on August 22, 2022.

           The Parties must serve any objections to requests for production of documents and
   interrogatories within 2 business days after the requests are served. Within 2 business days of
   service of any objections, the Parties must meet and confer to attempt to resolve in good faith any
   objections and to agree on custodians to be searched. Responsive productions must be made on a
   rolling basis and must begin no later than 10 days after service of the request for production. The
   Parties must make good-faith efforts to complete responsive productions no later than 21 days after
   service of the request for production.

         Additional revisions to your proposed orders will be made as promptly as possible. In the
   meantime, I expect you will cooperate on all those matters as to which you have reached
   agreements as reflected in both sides’ proposals.

           Despite the informal nature of this ruling, it shall constitute an Order of Court, and the
   Clerk is directed to docket it accordingly.
                                                                 Sincerely yours,
                                                                            /s/
                                                                 Catherine C. Blake
                                                                 United States District Judge

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